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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                       Case No.: 11-60198-Civ-Jordan/Bandstra

  SUSAN M. JORDAN,

         Plaintiff,

  v.

  ALLIANCEONE RECEIVABLES MANAGEMENT, INC.

       Defendant.
  _________________________________________/

   JOINT STIPULATION FOR PARTIAL DISMISSAL WITH PREJUDICE

        Plaintiff, Susan M. Jordan, and Defendant, AllianceOne Receivables

  Management, Inc., jointly stipulate to a Dismissal with Prejudice of Plaintiff’s

  claims under the Florida Consumer Collection Practices Act (“FCCPA”) with each

  party to bear its own attorney’s fees and costs except as otherwise agreed by the

  parties.


  Donald A. Yarbrough, Esq.              Dale T. Golden, Esq.
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  By: /s/ Donald A. Yarbrough            By: /s/ Dale T. Golden
  Donald A. Yarbrough, Esq.              Dale T. Golden, Esq.
Case 0:11-cv-60198-DLG Document 41 Entered on FLSD Docket 12/16/2011 Page 2 of 2




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                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 16, 2011, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se
  parties identified on the attached Service List in the manner specified, either via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some
  other authorized manner for those counsel or parties who are not authorized to
  receive electronically Notices of Electronic Filing.


                                                s/Donald A. Yarbrough
                                                Donald A. Yarbrough, Esq.


                                   SERVICE LIST

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